






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-12-00257-CV






Travis Edward Bishop and Madelaine Elizabeth Bishop, Appellants


v.


Tony Tomchesson d/b/a Tomchesson Professional Services, Appellee






FROM THE DISTRICT COURT OF HAYS COUNTY, 22ND JUDICIAL DISTRICT

NO. 08-0390, HONORABLE WILLIAM HENRY, JUDGE PRESIDING




M E M O R A N D U M   O P I N I O N



		Appellants Travis Edward Bishop and Madelaine Elizabeth Bishop have filed a
motion to dismiss this accelerated appeal.  Appellants certify that they have attempted to confer
about the motion or reasonably attempted to confer with all parties.  We grant the motion and
dismiss the appeal.  See Tex. R. App. P. 42.1(a)(1).



						__________________________________________

						Melissa Goodwin, Justice

Before Justices Puryear, Henson and Goodwin

Dismissed on Appellants' motion

Filed:   May 15, 2012


